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AO 442 (REV. 12/85)




                             UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF TEXAS, DEL RIO DIVISION

United States of America                                    §
                                                            § CRIMINAL COMPLAINT
vs.                                                         § CASE NUMBER: DR:22-M -01706(1,2)
                                                            §
(1) Brittney Alexis Tong                                    §
(2) Christian Emmanuel Clemon Bell                          §



                I, the undersigned complainant being duly sworn state the following is true and correct to the best

of my knowledge and belief. On or about July 18, 2022 in Val Verde county, in the WESTERN DISTRICT

OF TEXAS defendant(s) did, conspire with and other unnamed co-conspirators, to transport, or move or

attempt to transport or move, certain persons, knowing or in reckless disregard of the fact that that such

persons were aliens illegally present in the United States, a felony,

in violation of Title             8            United States Code, Section(s)     1324(a)(1)(A)(v)(I)

.

                I further state that I am a(n) Border Patrol Agent and that this complaint is based on the

following facts: "On July 18, 2022, defendants TONG, Brittney Alexis and BELL, Christian Emmanuel Clemon

both United States Citizens were arrested near Del Rio, Texas, within the Western District of Texas, for

conspiracy to transport three illegal aliens in furtherance into the United States. Border Patrol Agents

conducted a consensual encounter on a vehicle parked near a gas station. Agents determined driver TONG

and front passenger

Continued on the attached sheet and made a part of hereof.




Sworn to before me and subscribed in my presence,
                                                                           Signature of Complainant
                                                                           Melton, Lance T.
                                                                           Border Patrol Agent

07/22/2022                                                            at   DEL RIO, Texas
File Date                                                                  City and State



VICTOR ROBERTO GARCIA                                                      ______________________________
UNITED STATES MAGISTRATE JUDGE                                             Signature of Judicial Officer
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CONTINUATION OF CRIMINAL COMPLAINT

                               WESTERN DISTRICT OF TEXAS
      UNITED STATES OF AMERICA

                      vs.                            Case Number: DR:22-M -01706(1,2)

           (1) Brittney Alexis Tong
     (2) Christian Emmanuel Clemon Bell

Continuation of Statement of Facts:

BELL as United States Citizens, but passengers were foreign nationals who were illegally present in the United
States. TONG and BELL both made admissions to their involvement in the failed smuggling event."




______________________________
Signature of Judicial Officer                                  Signature of Complainant
